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                        IN THE UNITED STATES DISTRICT COURT
                                      FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

    Surfside Non-Surgical Orthopedics
,

Plaintiff(s),
                                                         Case No. 18-cv-566
v.                                                       Judge Sara L. Ellis

Allscripts Healthcare Solutions, Inc.,

Defendant(s).

                                              ORDER

(T:10) Motion hearing held on 6/14/2018.
Plaintiffs' motion for reconsideration and/or clarification [20] is granted. Plaintiffs' motion for
leave to file Defendant's discovery responses as exhibit B to Plaintiff's motion to clarify [20]
under seal [24] is granted. The clerk shall seal Exhibit B (Doc. No. 20-1) and (Doc. 24-1).
Status hearing set for 7/18/2018 to stand.




Date: 6/15/2018                                       /s/ Sara L. Ellis, U.S. District Judge




 
